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     Counsel for Defendant Google LLC
19
                                  UNITED STATES DISTRICT COURT
20
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                        DECLARATION OF JONATHAN TSE IN
23           Plaintiffs,                                SUPPORT   OF   GOOGLE   LLC’S
                                                        ADMINISTRATIVE MOTION TO SEAL
24                                                      PORTIONS   OF   GOOGLE   LLC’S
             v.                                         OPPOSITION TO PLAINTIFFS’ MOTION
25                                                      FOR AN ORDER OF SANCTIONS FOR
      GOOGLE LLC,                                       GOOGLE’S DISCOVERY MISCONDUCT
26
             Defendant.                                 Judge: Hon. Susan van Keulen, USMJ
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                                                                       Case No. 4:20-cv-5146-YGR-SVK
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 1          I, Jonathan Tse, declare as follows:
 2          1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6          2.      Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google
 7 LLC’s Administrative Motion to Seal portions of Google’s Opposition to Plaintiffs’ Motion for an Order

 8 of Sanctions for Google’s Discovery Misconduct (“Google’s Opposition”). In making this request,

 9 Google has carefully considered the relevant legal standard and policy considerations outlined in

10 Civil Local Rule 79-5. Google makes this request with the good faith belief that the information

11 sought to be sealed consists of Google’s confidential and proprietary information and that public

12 disclosure could cause competitive harm.

13          3.      The information requested to be sealed contains Google’s confidential and
14 proprietary information regarding highly sensitive features of Google’s internal systems and

15 operations, including various types Google’s internal projects, data signals, and logs, and their

16 proprietary functionalities, as well as internal metrics, that Google maintains as confidential in the

17 ordinary course of its business and is not generally known to the public or Google’s competitors.

18          4.      Such confidential and proprietary information reveals Google’s internal strategies,
19 system designs, and business practices for operating and maintaining many of its important services,

20 and falls within the protected scope of the Protective Order entered in this action. See Dkt. 61 at 2-

21 3.

22          5.      Public disclosure of such confidential and proprietary information could affect
23 Google’s competitive standing as competitors may alter their identifier system designs and practices

24 relating to competing products. It may also place Google at an increased risk of cyber security

25 threats, as third parties may seek to use the information to compromise Google’s data sources,

26 including data logs, internal data structures and internal identifier systems.

27          6.      For these reasons, Google respectfully requests that the Court order Google’s
28 Opposition to be filed under seal.

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 2         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 3 and correct. Executed in San Francisco, California on July 1, 2022.

 4

 5 DATED: July 1, 2022                         QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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 8                                               By          /s/ Jonathan Tse
                                                      Jonathan Tse
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                                                      Attorney for Defendant
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                                             TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
